
19 N.Y.2d 679 (1967)
In the Matter of Walter Sherman, Respondent,
v.
Board of Regents of the University of the State of New York, Appellant.
Court of Appeals of the State of New York.
Argued January 18, 1967.
Decided February 21, 1967.
Louis J. Lefkowitz, Attorney-General (Robert W. Bush and Ruth Kessler Toch of counsel), for appellant.
Orrin G. Judd, Edward Brodsky and Charles H. Kellert for respondent.
Concur: Chief Judge FULD and Judges VAN VOORHIS, BURKE, SCILEPPI, BERGAN, KEATING and BREITEL.
Order affirmed, with costs, upon the ground that the conduct of petitioner, as charged and found, does not constitute fraud or deceit within paragraph (a) of subdivision 2 of section 6514 of the Education Law. No opinion.
